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U.S Depaitment           of    Labor                     Office   of the    Solicitor

                                                         90   7th Street       Suite    3-700
                                                         San Francisco          California      94103




                                                         Joseph         Lake
                                                         Trial   Attorney

                                                         415      625-7758




   January    26    2010




  Chief Judge John                 Vittone

  Office   of Administrative            Law     Judges
  United States Department               of Labor
  800         Street     N.W       Suite 400 North

  Washington        DC        20001-8002




           Re           Wage      and Hour Division
                                                                  Hong Kong Entertainment Ltd                      et



  Dear Judge Vittone



  Enclosed with         this letter
                                       please   find an original and two                    copies      of the Order of
  Reference    to   be    filed   in the above-entitled          matter        Please     file   the original and return
  conformed      copy     in   the self-addressed                       enclosed         for your convenience
                                                         stamped


  Sincerely



 LAWRENCE BREWSTER
 Regional     Solicitor




 JOSEPH             LAKE

 Tal Attorney


 STEP               STACEY
 Legal Assistant


 Enclosures        As   stated




                    Working       To Improve       The   Lives     of   Americas         Working        Families
                Case 1:14-cv-00028 Document 13-1 Filed 11/06/15 Page 2 of 12




   LAWRENCE BREWSTER
   Regional     Solicitor

   DAVID           KAHN
   Counsel for Employment Standards

  JOSEPH              LAKE
  Trial    Attorney
  Office    of the     Solicitor

  UNITED        STATES         DEPARTMENT OF LABOR                                                                              cr

  90 Seventh      Street      Suite 3-700

  San Francisco          California 94103

  Telephone      415 625-7758
  Facsimile     415 625-7772

  Attorneys     for Plaintiff




                                    UNITED STATES DEPARTMENT OF LABOR
                                   OFFICE OF ADMINISTRATIVE LAW JUDGES



 Administrator          Wage       and Hour Division
 United    States Department           of Labor



                        Plaintiff                                              Order of Reference



                                                                               Case     No     c/O          Fb3
 Hong          Kong        Entertainment            Overseas
 Investments       Ltd      dlb/a    Tinian    Dynasty Hotel
 and Casino      and Raymond          Chan       an individual



                      Respondents




                             TO THE CHIEF ADMINISTRATIVE LAW JUDGE
                               UNITED STATES DEPARTMENT OF LABOR

          By   notice    dated     August     31 2007       pursuant     to    section     16e    of the Fair Labor     Standards


Act of 1938       as    amended      29    U.S.C            201 etseq         hereinafter      called the   Act      and in


accordance      with 29     CFR     Part   578      civil
                                                            money      penalty     in    the   amount of$ 191400       was    assessed


against   Respondents         Hong Kong          Entertainment      Overseas             Investments        Ltd   doing business     as
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Tinian      Dynasty Hotel         and Casino            and Raymond                  Chan an          individual          as   result   of the



employment        of 348 employees                in   violation of the overtime                       provisions         of section       of the Act



            Respondents          within    fifteen          15     days        of   receipt    of that      notice        timely filed    an exception


with    the   Wage    and Hour Division                 to   the determination                 that    the violations          for which     the penalty



was    imposed occurred



            Therefore      this   matter     is   submitted              for    fmal       determination           of the violations         for   which



the penalty     was imposed            as provided            in   29     CFR       Part      580 and       the appropriateness            and



reasonableness        of the penalty as provided                     by 29          CFR       Part    578    This     matter     is   hereby referred      to




you    as   Chief Administrative           Law         Judge       for    designation          and hearing           in   accordance       with    the



provisions      of 29   CFR       Parts 578 and              580


            Attached hereto pursuant                   to    29   CFR      Part 580.10            are the following



                     The    notice     of penalty                                       dated                  31 2007
                                                             determination                            August                     addressed        to and


transmitted     by   certified     mail to                                 at
                                              Respondents


                     Tinian      Dynasty Hotel               and Casino
                     P.O Box        468

                     Tinian       MP   96952
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                The   exception    to    the determination    dated   September     18 2007   signed   and   filed




by   Anthony    Long    counsel    for    Respondents




      Dated    and signed   this   25th    day of January    2010




                                                      DEBORAH GREENFIELD
                                                      Acting Deputy     Solicitor




                                                                       BREWSTER
                                                      Regional   Solicitor



                                                                 for Plaintiff the Administrator       of the
                                                     Attorneys                                                  Wage
                                                     and     Hour Division     United   States   Department          of
                                                     Labor
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       Notice of Penalty Determination


               Dated August       31 2007


                           pages
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               Department                    of Labor                                 Employment                    Standards        Administration

                                                                                      Wage                Hour       Division

                                                                                      300 Ala Moana                    Boulevard

                                                                                      Room          7-225

                                                                                      Honolulu                ifi     96850

                                                                                      TeL     808          541-1360

                                                                                      Fax     808          541-29S




      August        31 2007

      Certified      Mail        Receipt        Number             7002       0860 0007 4380 6830


      Raymond            Chan         Financial            Controfler

      Tinian    Dynasty            Hotel       and Casino
      P0   Box 468
  Tinian            MP      96952


  Subject            Assessment                 of    civil       money       penalty        for    overtime pay violations                   against       Hong         Kong Ent
  Overseas                  lrwt     Ltd      dba     Tinian       Dynasty           Hotel        and     Casino and           Raymond          Chan         an    indMdual



  Case Number                      1479728


  Dear         Raymond             Chan

 The       recent        investigation                of   your firm conducted                     by Investigator             Hamilton        under        the    Fair       Labor      Standards

 Act       FLSA           covered            the     period        03/16/2007           to    05/26/2007               The     investigation          disclosed              that   your
 employees               are subject               to the      fequirements             of the          FLSA


 The       investigation              disclosed             violations         of    FLSA         section           resulting       from the failure to pay                    statutory          overtime

 pay for hours worked                          in        40 hours per week
                                                    excess         of                                           These         violations      resulted        in   underpayments                    totaling

 $309816.21                  due     to      348 employees


 Investigator               Hamilton has                 advised        me     that    you        have        agreed     to   comply        fully    with    all   the       provisions           of the

 FLSA          in   the future          and     that       you     have       agreed         to           the    above        described        back wages                in full
                                                                                                   pay


 It    has also          been determined                    that    violations         of    the     overtime          pay provisions of the Act were disclosed                                     by an
investigation               conducted               by     this
                                                                  agency        in    02/06/2001               after    which you had given your assurance    of                                   full


future         compliance              with     all    the     provisions            of the       Act


The        violations            disclosed           in this      investigation     and your history of prior violations have resulted                                                  in   the

assessment                  of      civil     money          penalty         pursuant to section 16e of the FLSA and Regulations                                                      Part        578

The        total    civil    money           penalty         assessed           is   $191400.00                 This amount            is   due and payable                    within        30   days     to

Wage           and       Hour       Division             U.S      Department            of    Labor             Payment by           certified        check       money order should
                                                                                                                                                                   or

be delivered                or   mailed to Western                      Regional Office U.S                                   of   Labor Wage               and Hour Div 90 7th
                                                                                                                    Dept
Street Suite 13100                           San      Francisco              CA      94103-6710


This       debt     is   subject            to the    assessment               of interest              administrative             cost charges             and    penalties            in

accordance               with      the      Debt      Collection             Improvement                Act of 1995           and departmental                                      Interest       will    be
                                                                                                                                                               policies
assessed             at the       Treasury            Tax and           loan    account            rate    on           principal      that         becomes                                  This rate
                                                                                                                 any                                                delinquent                                  is

currently           4%       Administrative                 cost charges              will    be assessed               to    help defray the Governments                               cost of
collecting          this     debt             penalty at the rate of                    6% will          be    assessed            on any     portion       of     the   debt remaining

delinquent         more than 90 days
                     for                                                In   order to avoid these charges                            forward         payment            to    the Regional
Office      address listed above by the                                 indicated       due date
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 You have          the    right to      file    an exception           to the determination                                 of penalty               The procedures                   for   filing      such   an

 exception         are contained                in   section    580.6        of        Regulations                    Pact    580              The     exception         should be            In   writing

 typed or legibly written                      and    should specify              the       issues          stated           in     the notice             with      which       you take exception
 and    the    reasons          why you          believe       this   determination                    is    in       error         This         exception           must        be   filed   within      15 days

from     the   receipt          of   this   assessment            letter          It   must           be    filed       with the               official        who   issued        the    determination             at

 the   Wage        and Hour            Division         address indicated                   above                If    an    exception                    Is   not filed withIn the required

 15    days     the above              determination                 shall    become                   the       final       and unappealable                           Order of the Secretary
of Labor           Due       to the delayed                delivery of mall in certain                                      areas you may                         wish      to     transmit your

 exception          to    the HawallArea                   Office      via    Fax           at    808-541-2956to                               ensure           timely receipt



We     would       like    to   call   to      your attention         that    when an                  exception               is    filed the matter                  is    referred         to   the Chief

Administrative             Law       Judge       in    Washington            D.C                  formal              hearing             is    then      scheduled           for        final


determination             with       respect         to the alleged          violations                    and        the    appropriateness                         of the      penalty         assessed           At

such     hearing you may                    by yourself         or    through an attorney                              retained                by you          present such             witnesses
introduce    such evidence                      and     establish      such            facts      as you              believe         will        support your exception


Enclosed        for      your information               are    copies of           Title         29   CFR             Part     578         and       Title      29   CFR         Part    580       If
                                                                                                                                                                                                        you    have

any questions              please       let     me know


Finally       we   wish to point               out that    there      may be                 question                 as to the deductibilityf                             civil      money        penalties

paid    as      business             expense          under     the    Internal             Revenue                   Code           In    this      regard          you     may        wish to contact             the

Internal      Revenue           Service



Sincerely




Terence            Trotter

Assistant      District         Director




Enclosures           Title      29     CFR       Part    578    and     Title          29   CFR            Part        580




CC     John     Glyder           Disthct        DIrector
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     Exception to Penalty DeterminÆton


            Dated September         18 2007


                           pages
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                                                  LAW        OFFICE OF               ANTHONY LONG
                                                                      P.O         Box 504970
                                                               San Jose Saipan            MP    96950

                                                     Telephone        670.235.4802           Fax        670.235.4801



        Anthony      Long
     gaJnmilawcci1i




     KelleyM Butcher
     kmbanmllawcom



                                                                     September       18 2007


     VIA FAX         AND EXPRESS MAIL
     FAX     NO 808.541.2956

     Terance        Trotter

     Assistant District            Director

     Employment             Standards        Administration

     Wage         Hour Division

     300 Ala Moana Blvd
     Room    7-225

 Honoluhi          Hawaii 96850



 Re      Assessment of Civil                  Penalty    Against       Hong Kong           Entertainment                Overseas             Investments

 Ltd        dba Tinian            Dynasty Hotel         and Casino and Raymond                     Chan        individually



 1car Tcrcncc               Trotter




     represent     Hong Kong                Entertainment           Overseas        Investments              Ltd        ciba    Tinian       Dynasty Hotel
and Casino Tinian                       Dynasty         and Raymond            Chan       individually             in    connection           with assessment
of the $191400.00                   civil   penalty      notice      of which was received                   on September                    2007 HkCE and
Mr Chuzi          each      request          hecui   ng on the asesament


Tinian       Dynasty and            Mr      Chan each         protest the assessment               as   it   appears           that   the 2002 consent

judgment involving                  Tinian      Dynasty concerned                  violation of Section                  15     of the Act and not
Sections                     This means the current assessment
                  or                                                                 is   not      repeat          violation as defined                by 29       CFR
Section        578.3 Thu           civil    pcnalty     a3scssmcnt        is   not sustainabic               therefore           on the basis         that    it



constitutes            repeat violation              In any event        the amount         of the      civil      penalty            is   not only grossly

                              to   the violation         but   it   constitutes      an abuse       of discretion
disproportionate                                                                                                                  Indeed the notice                ftils

to    indicate    how        it   was   determined        that      $191400.00           as opposed           to        lesser        sum     is     reasonable

penalty        Moreover            based     on      Investigator      Richard            Hamiltons            June       29 2007            written       note to

Raymond          Chan             copy of wbich         is   attached     hereto         lIKE decided              to accept               as opposcd        to

challenging          Mr       Hamiltons           determination           The     size    of the    civil      penalty          assessed           under   this

circumstance           is   neither reasonable               nor in compliance            with the       spirit      and intent                Mr     Hamiltons
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             tii




     June29        2007 communication           upon which Tinian          Dynasty       relied   in   deciding      to
                                                                                                                           agree   with the

     back wage      summary


     The   assessment        against   Mr    Chan   is   totally   inappropriate as       Mr      Chan lacks the decision            making

     authority     regarding    issu.iing    of paymcuL of wagea          He     caa   only issue      the checks         for   which he   is


     authorized     to do so by     his     superiors    Also      Mr   Chan     wasnot      party      to   the 2002 consent

     judgment involving          Tinian     Dynasty      Thus      assessing him         penalty       based    on   the   existence   of

                                                                    violation                     Tinian
     prior consent     judgment or                                                                             Dynasty           not proper
                                                                                                                            Is
                                             purported     repeat                  involving



     Please direct     all   Arture correspondence          regarding     This   mater to    my attention


     Regar




        Anthony Long


 cc Raymond            Chan
sfl   eU Case
         un   1:14-cv-00028 Document 13-1 Filed 11/06/15 Page 11 of 12                                     7/



              -P                                                                      30     2007    1pi



                   RAYMOND EAN

                                                                              3ofwfllnccd
             yow snswcro             latcT   then     Monday            thc   8ackWge
           rfugtopay                 a4jwffl        ve   tDtur
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         11mzkou




        Invtor

        US   Dcparrzcnt          of Labo


        06i29/2007
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                                                    PROOF OF SERVICE




             am       citizen     of the United    States       of America and            am    over   eighteen   years of   age    am   not



     party to the within        action    my business          address    is   90   7th   Street   Suite   3-700 San Francisco


California       94103       On   January    26 2010           served    the within         ORDER OF REFERENCE in                   this




action    upon Respondent            by placing         true    copy thereof         in    sealed      government    envelope mailed


in   San Francisco           California     addressed      to




      Anthony     Long
Law     Office   of          Anthony     Long
Beach Road

P.O Box      504970

Saipan     MP    96950




           certif     that    under penalty     of perjury       that    the above        is   true and correct     Executed   on


January    26 2010



                                                          STEP                  STACEY
                                                         Legal Assistant


                                                         OFFICE OF THE SOLICITOR
                                                         UNITED          STATES           DEPARTMENT OF LABOR
